     Case 2:23-cr-00599-MCS Document 77-1 Filed 05/07/24 Page 1 of 2 Page ID #:2295



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 8                             UNITED STATES DISTRICT COURT
 9                            CENTRAL DISTRICT OF CALIFORNIA
10
11 UNITED STATES OF AMERICA,                  Case No. 2:23-cr-00599-MCS
12               Plaintiff,                   [PROPOSED] ORDER RE
                                              GOVERNMENT’S EX PARTE
13         v.                                 APPLICATION FOR ORDER
                                              REQUIRING DEFENDANT TO
14 ROBERT HUNTER BIDEN                        COMPLY WITH COURT’S STANDING
                                              ORDER AND EXCHANGE PROPOSED
15               Defendant.                   JURY INSTRUCTIONS WITH THE
                                              GOVERNMENT
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     [PROPOSED] ORDER RE GOVERNMENT’S EX PARTE APPLICATION FOR ORDER REQUIRING DEFENDANT TO
          COMPLY WITH COURT’S STANDING ORDER AND EXCHANGE PROPOSED JURY INSTRUCTIONS
                                 CASE NO. 2:23-CR-00599-MCS-1
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 1         The Court having considered the Ex Parte Application and Memorandum
 2 submitted, hereby enters the following Order:
 3         IT IS HEREBY ORDERED that the Government’s Ex Parte Application For
 4 Order Requiring Defendant To Comply With Court’s Standing Order And Exchange
 5 Proposed Jury Instructions With The Government is DENIED.
 6         IT IS SO ORDERED.
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 9                                      ________________________________________
     DATE                                THE HONORABLE MARK C. SCARSI
10                                       UNITED STATES DISTRICT JUDGE
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      [PROPOSED] ORDER RE GOVERNMENT’S EX PARTE APPLICATION FOR ORDER REQUIRING DEFENDANT TO
           COMPLY WITH COURT’S STANDING ORDER AND EXCHANGE PROPOSED JURY INSTRUCTIONS
                                  CASE NO. 2:23-CR-00599-MCS-1
